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                                          UNITED STATES DISTRICT COURT
                                          EASTERN DISTRICT OF MISSOURI
                                                EASTERN DIVISION

             UNITED STATES OF AMERICA,                          )
                                                                )
                  Plaintiff,                                    )
                                                                )
             v.                                                 )   No. S2-4:18 CR 975 ERW
                                                                )
             CHRISTOPHER MYERS,                                 )
                                                                )
                  ·Defendant.                                   )


                                            GUILTY PLEA AGREEMENT

                    Come now the parties and hereby agree, as follows:

        I.          PARTIES:

                    The parties are the defendant Christopher Myers, represented by defense counsel Scott
                               )




        Rosenblum and Adam Fein, and the United States of America (hereinafter "United States" or
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             Govemment"), represented l;>y the Office of the United States Attorney for the Eastern District

        of Missouri. This agreement does not, and is not intended to. bind any governmental office or

        agency other than the United States Attorney for the Eastern District of Missouri, The Court is

        neither a party to nor bound by this agr~ement. Ho:wever, if the Co\¢ accepts the plea

        agreement as to the sentence, then the Court will be bound by said agreement pursuant to Rule

        1l(c)(l)(C).

        2.          GUILTY PLEA:

                    Pursuant to Federal Rule of Criminal Procedure 11 (c)(1 )(C), in exchange for the

        defendant's voluntary plea of guilty to Count One of the superseding infonnation, the

        government agrees to move for the dismissal as to this defendant only of the superseding

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      indictment at the time of sentencing. Moreover, the United States agrees that no further federal

      prosecution will be brought in this District relative to the defendant's conduct on September 17,

      2017, of which the Government is aware at this time. In addition, pursuant to Rule 1l(c)(l)(C),

     Federal Rules of Criminal Procedure, the parties agree that the defendant's sentence should be

     one year of probation without a fine. If the Court informs the parties prior to sentencing that it

     will reject this agreement or sentences defendant to a ~entence not in conformity with this_

     agreement, then either party may withdraw from the plea agreement and the defendant will have

     an opportunity to withdraw his guilty plea pursuant to Rule 11(c)(5). The parties further agree

     that neither party shall request a sentence above or below the sentencing agreement in this

     paragraph pursuant to any chapter of the Guidelines, Title 18, United States Code, Section 3553,

     or any other provision or rule of law not addressed herein.
                                 (
     3.      ELEMENTS:

            As to Cowit One, the defendant admits to knowingly violating Title 1~, United States

     Code, Section 242, and admits there is a factual basis for the plea and further fully understands

     that the elements of the crime are: 1) the· defendant was acting under color of law; 2) defendant

 .   acted willfully; and 3) defendant did willfully deprive L. H. of rights and privileges
                                                                                      .     secured and

     protected by the Constitution and laws of the United States, that is, the right to be secme·against

     unreasonable seizures of property; that is, by damaging L. H. 's cell phone.

     4.     FACTS:

            Following the acquittal on September 15, 2017 of former St. L9uis Metropolitan Police

     Department ("SLMPD") Officer Jason Stockley on-a state murder charge stemming from an

     officer-involved shooting, there were multiple days of concentrated protests in and around St


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   Louis, Missouri. SLMPD and the City of St. Louis had notice of the impending verdict, planned

   their protest response, and organized its officers into response teams. Many officers, including

   Defendant Christopher Myers, were detailed to the Civil Disobedience Team (CD1). SLMPD

   Detective L.H., a 22-year veteran officer of SLMPD, was assigned to work in an undercover

   capacity during the protests and was tasked with documenting protest activity and property

   destruction, in part by using his cellular phone to record criminal acts and also by livestreaming

   such activity.

             The Arrest and Assault of L.H.

             During the evening of September 17, 2017, two days after the protests began, L.H. was

   working undercover and ended up near the St. Louis Public Library at the northeast comer of

   14th Street and Olive Street. At around the same time, Defendant Myers and other CDT officers

   were walking north on 141h Street toward Washington Avenue. While the CDT was walking on
               )            .


   14th   Street, and as depicted on pole camera video, there was very little protest activitr at the

   intersection of 14th Street and Olive Street

             As    the CDT approached the comer of 14th Street and Olive Street, ~dy Hays and other
   CDT officers approached L.H. When the officers approached L.H., L.H. was standing on the

   comer by an electrical box. L.H. did not appear to be committing a crime. Nonetheless,

   believing that L.H. was a protester, CDT officers ordered L.H. to the ground.

             L.H. complied with the CDT officers' commands. L.H. began to get onto the ground.

   However, before he could do so, a CDT officer knocked him to the ground. L.H. did not resist

   arrest, did not pose a physical threat to anyone, and did not otherwise do anything that would

   warrant the use of physical force against him. Nonetheless, Randy Hays and other CDT officers


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          continued to use unreasonable physical force against L.H. while L.H. was on the ground,

          including striking L.H. with a riot baton, a dangerous weapon. The conduct resulted in

          pennanent bodily injury toL.H. L.H. was streaming video from his cell phone when the arrest
                                                                                                 '
          and assault began.

                  Defendant Myers damaged L.H.'s cell phone by throwing the cell phone, and, in doing

          so, did willfully deprive L. H. of rights and privileges secured and protected by the Constitution

          and laws of the United States, that is, the right to be secure against unreasonable seizures of

          property.

                 The parties agree that the facts in this case are as described above and that the

          government would prove these facts beyond a reasonable doubt if the case were to go to trial.

          These facts may be considered as relevant conduct pursuant to Section 1B 1.3:

          5.     STATUTORY PENALTIES:

                 The defendant fully understands that the maximum possible penalty provided by law for

          the crime to which the .defendant is pleading guilty is impris9nment of not more than one year, a

          fine of not more than $250,000, or both such imprisoninent and fine. The Court shall also

          impose a period of supervised release of not more than one year.

          6.     U. S. SENTENCING GUIDELINES: 2018 MANUAL:

                 The defendant understands that this offense is affected'•by the U. S. Sentencing

          Guidelines and the actual sentencing range is determined by both the Total Offense Level and

          the Criminal History Cat~gory. To assist the Court in detennining the impact of the plea

!         agreement, the parties submit the following U.S. Sentencing Guidelines analysis:

                .a.     Chapter 2 Offense Conduct:


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                            (I) Base Offense Level: The parties agree that the base offense level is ten ( I 0)

           as found in §2Hl. l(a)(3);

                            (2) Specific Offense Characteristics: The parties agree that the following

           Sp~ific Offense Characteristics apply:

                           (a) Six (6) levels. should be added pursuant to §2Hl.l(b)(l){B) because the

           offense was committed under color oflaw.

                      b.   Chapter 3 Adiustments:

                           (1) Acceptance of Responsibility: The parties recommend that three (3) levels

           should be deducted pursuantto Section 3El. l(a)'and (b), because the defendant has clearly ,

           demonstrated acceptance of responsibility and timely notified the government of the defendant's

           ·intention to plead guilty.

                      c.   Estimated Total Offense Level: The) parties estimate thatthe Total Offense

           Level is thirteen (13). However, the parties have agreed, pursuant to Rule 1l(c)(l)(C), that

           regardless of the applicable offense level, the appropriate sentence is one year of probation with

           no fine.

                   d        Criminal History: The detennination of the defendant's Criminal History
                                                 I

           Category shall be left to the Court. Either party may challenge, before and at sentencing, the

           finding of the Presentence Report as to the defendant's criminal history and the applicable

          category. The defendant's criminal history is known to the defendant and is available in the

          Pretrial Services Report.

                  e.       Effect of Parties' U.S. Sentencing Guidelines Analysis:




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          The p~es agree that the Court is not bound by the Guidelines analysis agreed to herein.

  The parties may not have foreseen    all applicable Guidelines. The Court may, in its discretion,
  apply or not apply any Guideline despite the agreement herein and the parties shall not be

  permitted to withdraw :from the plea agreement. But, if the Court accepts the plea agreement in

  this case, it.is bound by the sentencing agreement in paragraph 2 above.

  7.      WAIVER OF APPEAL AND POST-CONVICTION RIGHTS:

          a.      Appeal: The defendant has been fully apprised by defense counsel of the

  defendant's rights concerning appeal and fully understands the right to appeal the sentence under
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  Title 18, United States Code, Section 3742.

                  (1) Non-Sentencing Issues: The parties waive all rights to appeal all non-

  jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to pretrial

  motions, discovery and the guilty plea, the constitutionality of the statute(s) to which defendant

  is pleading guilty and whether defendant's conduct falls within the scope of the statute(s).
                         ··,


                 (2) Sentencing Issues: In the event the Court accepts the plea and, in sentencing

  the defendant follows the sentencing agreement in paragraph 2, then, as part of this agreement,

  the parties hereby waive all rights to appeal all sentencing issues.
                                                                         /

         b.      Habeas Corpus: The defendant agrees to waive all rights to contest the

  conviction or sentence in any post-conviction proceeding, including one pursuant to Title 28,

 · United States Code, Section 2255, except for claims of prosecutorial misconduct or ineffective

  assistance of counsel.

         c.      Right to Records: The defendant ~a.ives all rights, whether asserted directly or

  by a representative, to request :from any department or agency of the United States any records


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    pertaining to the investigation or prosecution of this case, including any records !}lat may be
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    sought ~der the Freedom of Information Act, Title 5, United States Code, Section 522, or the

   Privacy Act, Title 5, United States Code, Section 552(a).

             d.      Statutory Challenge: The defendant knowingly and voluntarily waives the right

   to rais~ on appeal or on collateral review any argument that (1) the statute to which the defendant
   is pleading guilty is unconstitutional and (2) the admitted conduct does not fall within the scope

   of the statute.

   8.       , OTHER:

        I   ,a.      Disclosures Required by the United States Probation Office:

            The defendant agrees to truthfully complete and sign forms as required by the United

   States Probation Office p_rior to sentencing and consents to the release of these forms and any

   supporting documentation by the United States Probation Office to the government

            b.       Civil or Administrative Actions not Barred; Effect on Other Governmental
   Agencies:

            Nothing contained herein limits the rights and authority of the United States to take any

   civil, tax, immigration/deportation or administrative action against the defendant.

            C.       Supervised Release: Pursuant to any supbrvised release tenn, the Court will

   impose standard conditions upon the defendant and may impose special conditions related to the

   crime defendant committed. These conditions will be restrictions on the defen~ant to which the

  .defendant will be required to adhere. Violation of the conditions of supervised release resulting

   in revocation may require the defendant to serve a term of imprisonment equal to the length of

   the term of supervised release, but not greater than the term set forth in Title 18, United States



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 Code, Section 3583{e)(3), without credit for the time served after release. The defendant

 understands that parole has b~en abolished.

         d.            Mandatory Special Assessment: Pursuant to Title 18, United States Code, .
                                                                   .                    '
 Section 3013, the Court is required to impose a mandatory special assessment of$25, which the

 defendant agrees to pay at the time of sentencing. Money paid by the defendant toward any

 restitution or fine imposed by the Court shall be first used to pay any unpaid m~datory special

 assessment.

        e.             Possibility of Detention: The defendant may be subject to immediate detention

 pursuant to the provisions of Title 18, United States Code, Section 3143.

        f.             Fines, Restitution and Costs oflncarceration and Supervision: The <;:ourt

 may impose a fine, restitution {in addition to any penalty authorized by law), costs of

 incarceration and costs of supervision. The defendant agrees that any fine or restitution imposed

 by the Court will be due and payable immediately. Pursuant to Title 18, United States Code,

 Section 3663A, an order of restitution is mandatory for all .crimes listed in Section 3663A(c).

 Regardless of the Count of conviction, the amount of mandatory restitution imposed shall

include all amounts allowed by Section 3663A(b) and the amount ofloss agreedto by the

parties, including all relevant conduct loss. The defendant agrees to provide full restitution to all

victims of all charges in the indictment.

        g.·           Forfeiture:
                        .._
                                  The defendant knowingly and voluntarily
                                                                      . , waives any right, title, and


interest in       all items seized by law enforcement officials during the course of their investigation,
whether or not they are subject to forfeiture, and agrees not to contest the vesting of title of such
             ""                     .                ,,




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    items in the United States. The defendant agrees that said items may be disposed of by law

   enforcement officials in any manner.

           h. POST Certification: The defendant agrees to forfeit his Peace Officer Standards and

   Training (POST) certification from Missouri Department of Public Safety.

   9.      ACKNOWLEDGMENT AND WAIVER OF THE DEFENDANT'S RIGHTS:

           In pleading guilty, the defendant acknowledges, fully understands and hereby waives his

   rights, including but not limited to: the right to plead not guilty to the charges; the right to be

   tried by a jury in' a public and speedy trial; the right to file pretrial motions, including motions to

   suppress evidence; the right at such trial to a presumption of innocence; the right to require the

   government to prove the entire case against the defendant beyond a reasonable doubt; the right

   not to testify; the right not to present any evidence; the right to be protected from compelled self-

   incrimination; the right at trial to confront and cross-examine adverse witnesses; the right to

   testify and present evidence and the right to compel th~ attendance of witnesses. The defendant

   further understands that by this guilty plea, the .defendant expressly waives all the rights set forth

   in this paragraph.

          The defendant fully understands that the defendant has the right to be represented by

   counsel, and if necessary, to have the Court appoint counsel at trial and at every other stage of

   the proceeding. The defendant's counsel has explained these rights and the consequences of the

   waiver of these rights. The defendant fully understands that, as a result of the guilty plea:, no trial

   will, in fact, occur and that the only action remaining to be taken in this case is the imposition of

   the sentence.




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           The defendant is fully satisfied with the representation received from defense com1sel.

   The defendant has reviewed the government's evidence and disc.ussed the government's case and

   all possible defenses and defense witnesses with defense coW1Sel. Defense counsel has

   completely and satisfactorily explored all areas which the defendant has requested relative to the

   government's case and any defenses.

         · The guilty plea could impact defendant's immigration status or result in deportation. In

   particular, if any crime to which defendant is pleadi~g guilty is an "aggravated felony" as defined

   by Title. 8, United States Code, Section 1l01(a)(43), removal or deportation is presumed

   mandatozy. Defense counsel has advised the defendant of the possible immigration

  consequences, including deportation, resulting from the plea

   10.     VOLUNTARY NATURE OF THE GUILTY PLEA AND PLEA AGREEMENT:

           Tins document constitutes the entire agreement between the defendant and the

  government, and no other promises or inducements have been made, directly or indirectly, by

  any agent of the government, including any Department of Justice attorney, concerning any plea

  to be entered in this case. In addition, the defendant states that no person has, directly or

  indirectly, threatened or coerced the defendant to do or refrain from doing anything in
                                                    /



  connection with any aspect of this case, including entering a plea of guilty.

           The defendant acknowledges that the defendant has voluntarily entered into both the plea

  agreement and the guilty plea. The defendant further acknowledges that this guilty plea is made

  of the defendant's own free will and that the defendant is, in fact, guilty.

  11.     CONSEQUENCES OF POST-PLEA MISCONDUCT:




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             ·-
                     After pleading guilty and before sentencing, if defendant commits any crimes, violates

              any conditions of release, violates any term of this guilty-plea agreement, intentionally provides

              misleading, incomplete or untruthful information to the U.S. Probation Office or fails to appear

              for sentencing, the United States will be released from its obligations under th.is agreement. The

              Government may also, in its, dis~retion, proceed with th.is agreement and may advocate for any

              sentencing position supported by the facts, including but not limited to obstruction ofjustice and

              denial of acceptance of responsibility.

              12.    NO RIGHT TO WITBDRAW GUILTY PLEA:

                     Pursuant to Rule l l(c) and (d), Federal Rules of Criminal Procedure, the defendant

              understands that there will be no right to withdraw the plea entered under this agreement, except

             . where the Court rejects those portions of the plea agreement which deal with charges the

              government agrees to dismiss or not to bring   or as set forth in Paragraph 2 above.


                                                                    CARRIE COSTANTIN
                                                                    Assistant United States Attorney


             3/q/)~
                     Date



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                     Dat
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                                                                   SCOTT ROSENBLUM
                                                                   Attorney for Defendant




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